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          EXHIBIT 20
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                                      UNITED STATES
                          SECURITIES AND EXCHANGE COMMISSION
                                                                Washington, D.C. 20549

                                                                 FORM 8-K
                                                       CURRENT REPORT
                               Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
                                                   Date of Report (Date of earliest event reported):
                                                                    May 7, 2019


                                                                   2U, INC.
                                        (EXACT NAME OF REGISTRANT AS SPECIFIED IN ITS CHARTER)

                                                                      DELAWARE
                                                              (STATE OF INCORPORATION)

                            001-36376                                                                    XX-XXXXXXX
                    (COMMISSION FILE NUMBER)                                                     (IRS EMPLOYER ID. NUMBER)

                        7900 Harkins Road
                           Lanham, MD                                                                          20706
            (ADDRESS OF PRINCIPAL EXECUTIVE OFFICES)                                                        (ZIP CODE)

                                                            (301) 892-4350
                                        (REGISTRANT’S TELEPHONE NUMBER, INCLUDING AREA CODE)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under any of the
following provisions:

 Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)

 Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)

 Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))

 Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of 1933 (§230.405 of this
chapter) or Rule 12b-2 of the Securities Exchange Act of 1934 (§240.12b-2 of this chapter).

Emerging growth company 

If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with
any new or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. 

Securities registered pursuant to Section 12(b) of the Act:

                      Title of each class                              Trading Symbol(s)               Name of each exchange on which registered
         Common Stock, $0.001 par value per share                           TWOU                           The Nasdaq Global Select Market




Item 2.02         Results of Operations and Financial Condition

          On May 7, 2019, 2U, Inc. issued a press release announcing its financial results for the quarter ended March 31, 2019. A copy of the press
release is furnished as Exhibit 99.1 hereto and incorporated by reference herein.

          In accordance with General Instruction B.2. of Form 8-K, the information in this Item 2.02, and Exhibit 99.1 hereto, shall not be deemed
“filed” for purposes of Section 18 of the Securities Exchange Act of 1934, as amended (the “Exchange Act”), or otherwise subject to the liability of
that section, nor shall it be deemed incorporated by reference in any of the Registrant’s filings under the Securities Act of 1933, as amended, or the
Exchange Act, whether    made 8:19-cv-03455-TDC
                      Case     before or after the date hereof,Document
                                                               regardless of any incorporation
                                                                              144-23      Filedlanguage in such aPage
                                                                                                  10/27/20        filing, except
                                                                                                                          3 of 9as expressly set forth
by specific reference in such a filing.

Item 9.01           Financial Statements and Exhibits

(d)      Exhibits

Exhibit Number                                                                 Exhibit Description
99.1                    Press release, dated May 7, 2019, “2U, Inc. Reports First Quarter 2019 Financial Results.”

                                                                           2


                                                                     SIGNATURE

         Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its behalf
by the undersigned hereunto duly authorized.


                                                                            2U, INC.


                                                                            By:        /s/ Christopher J. Paucek
                                                                            Name:      Christopher J. Paucek
                                                                            Title:     Chief Executive Officer


Date: May 7, 2019

                                                                           3
                      Case 8:19-cv-03455-TDC Document 144-23 Filed 10/27/20 Page 4 of 9                                                         Exhibit 99.1




                                                2U, Inc. Reports First Quarter 2019 Financial Results
                                                         Delivers 32% year-over-year growth

LANHAM, Md. — May 7, 2019 — 2U, Inc. (Nasdaq: TWOU), a global leader in education technology, today reported financial and operating
results for the first quarter ended March 31, 2019.

First Quarter 2019 Results

        Revenue was $122.2 million, an increase of 32% from $92.3 million in the first quarter of 2018.
        Net loss was $(21.6) million, or $(0.37) per share, compared to $(14.9) million, or $(0.28) per share, in the first quarter of 2018.
        Adjusted net loss was $(8.6) million, or $(0.15) per share, compared to $(6.1) million, or $(0.12) per share, in the first quarter of 2018.
        Adjusted EBITDA loss was $(3.2) million, compared to $(1.5) million in the first quarter of 2018.

“2U delivered another strong quarter,” Co-Founder and CEO Christopher “Chip” Paucek said. “Our business is transforming and diversifying in
exciting ways that further cement 2U’s market-leading position and allow us to better meet the demands of lifelong learners, all while delivering
sustainable growth and great outcomes in shared alignment with our partners.”

Recent Developments

2U recently announced the following:

        May 6, 2019: A top workplace recognition by The Denver Post for the third consecutive year.
        April 7, 2019: An Agreement and Plan of Merger and Reorganization to acquire Trilogy Education Services, Inc. (“Trilogy”), a workforce
         accelerator that empowers the world’s leading universities to prepare professionals for high-growth careers in the digital economy.
         Trilogy’s intensive, skills-based training programs bridge regional talent gaps in coding, data analytics, UX/UI, and cybersecurity in more
         than 50 cities around the globe. The completion of the acquisition is subject to the expiration or termination of the waiting period under the
         Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended, and certain other customary closing conditions.
        April 3, 2019: A new partnership with Arcadia University to deliver two new hybrid degrees for healthcare and medical professionals.
        February 25, 2019: A new partnership with the Jack, Joseph and Morton Mandel School of Applied Social Sciences at Case Western
         Reserve University to deliver an online Master of Science in Social Administration (MSSA).

Segment Name Change

As of the date of this earnings release, 2U has changed the name of its Short Course Segment to Alternative Credential Segment. We elected to
change the name of this segment from Short Course to Alternative Credential because we believe the name, Alternative Credential, more accurately
describes this segment as we expand our offerings along the career curriculum continuum.




Financial Outlook

Based on information available as of today, 2U is issuing the following guidance for the second quarter and full-year of 2019. This guidance
assumes foreign currency exchange rates as of March 31, 2019 for the U.S. dollar/South African rand and the U.S. dollar/British pound. Other than
transaction costs incurred in the first quarter of 2019, it does not include the impact of the Trilogy acquisition that the Company expects to close in
late-May 2019.

                                                                                                                2Q 2019                    FY 2019
                                                                                                             (in millions, except per share amounts)
Revenue                                                                                                     $124.3 - $125.0            $534.0 - $537.0
Net loss                                                                                                    $(36.0) - $(35.5)          $(79.0) - $(77.2)
Net loss per share                                                                                          $(0.61) - $(0.60)          $(1.35) - $(1.32)
Adjusted net loss                                                                                           $(20.8) - $(20.3)          $(20.0) - $(18.2)
Adjusted net loss per share                                                                                 $(0.36) - $(0.35)          $(0.34) - $(0.31)
Weighted-average shares of common stock outstanding, basic                                                        58.6                       58.7
Adjusted EBITDA (loss)                                                                                      $(13.1) - $(12.6)            $12.5 - $14.3
Stock-based compensation expense                                                                             $14.0 - $14.2               $52.2 - $52.6

2U expects that of the revenue it recognizes in the second half of 2019, approximately 48% will be recognized in the third quarter.
Note that 2U’s previously
                      Caseannounced   intention to increase marketing
                             8:19-cv-03455-TDC               Document    spend144-23
                                                                                in the first half
                                                                                             Filedof 2019 is reflectedPage
                                                                                                      10/27/20         in this guidance
                                                                                                                               5 of 9 and has the effect
of driving larger second quarter losses than would be expected based on typical performance patterns. Further note that cost seasonality in the
second and fourth quarters typically reduces margins in the first half of each year and improves margins in the second half of each year, so second-
half margins should not be viewed as being a run rate for the first half of the following year.




Non-GAAP Measures

To supplement the Company’s consolidated financial statements, which are prepared and presented in accordance with U.S. generally accepted
accounting principles (“GAAP”), we use adjusted EBITDA, adjusted EBITDA margin, adjusted net income (loss) and adjusted net income (loss)
per share, which are non-GAAP financial measures.

We define adjusted EBITDA as net income or net loss, as applicable, before net interest income (expense), taxes, depreciation and amortization
expense, foreign currency gains or losses, acquisition-related gains or losses, transaction costs (including advisory fees and integration and
restructuring expenses) and stock-based compensation expense. Some or all of these items may not be applicable in any given reporting period.
Adjusted EBITDA margin represents adjusted EBITDA as a percentage of revenue.

We define adjusted net income (loss) as net income or net loss, as applicable, before foreign currency gains or losses, acquisition-related gains or
losses, transaction costs (including advisory fees and integration and restructuring expenses) and stock-based compensation expense. Adjusted
net income (loss) per share is calculated as adjusted net income (loss) divided by diluted weighted-average shares of common stock outstanding
for periods which result in adjusted net income, and basic weighted-average shares outstanding for periods which result in an adjusted net loss.

As of the date of this earnings release, we revised our definition of adjusted EBITDA and adjusted net income (loss) to exclude the impact of
transaction costs in connection with the acquisition of Trilogy. We believe this change is meaningful to investors because we did not have material
transaction costs in prior periods and as a result, excluding the impact of such costs beginning in this period facilitates a period-to-period
comparison of our business.

The principal limitation of these non-GAAP financial measures is that they exclude significant expenses that are required by GAAP to be recorded
in the Company’s financial statements. These non-GAAP measures are key metrics Company management uses to compare the Company’s
performance to that of prior periods for trend analyses and for budgeting and planning purposes. These measures also provide useful information
to investors and analysts relating to 2U’s financial condition and results of operations. These financial measures are not intended to be considered
in isolation or as a substitute for, or superior to, financial information prepared and presented in accordance with GAAP. In addition, these financial
measures may be different from non-GAAP financial measures used by other companies, limiting their usefulness for comparison purposes.

For more information on 2U’s non-GAAP financial measures and reconciliations of such measures to the nearest GAAP measures, see the
reconciliation tables at the end of this press release under the heading “Reconciliation of Non-GAAP Measures.” 2U urges investors to review
these reconciliations and not to rely on any single financial measure to evaluate the Company’s business.

Conference Call Information

What:               2U, Inc.’s first quarter 2019 financial results conference call
When:               Tuesday, May 7, 2019
Time:               5 p.m. ET
Live Call:          (877) 359-9508
Webcast:            investor.2U.com

About 2U, Inc. (Nasdaq: TWOU)

Eliminating the back row in higher education is more than just a metaphor, it’s our mission. For more than a decade, 2U, Inc., a global leader in
education technology, has been improving lives by powering world-class digital education. As a trusted partner and brand steward of great
universities, we build, deliver, and support online graduate programs and certificates for working adults. Our industry-leading short courses,
offered by GetSmarter, are designed to equip lifelong learners with in-demand career skills. To learn more, visit 2U.com. #NoBackRow




Cautionary Language Concerning Forward-Looking Statements

This press release contains forward-looking statements regarding our future business expectations, which are subject to the safe harbor
provisions of the Private Securities Litigation Reform Act of 1995. All statements other than statements of historical facts contained in this press
release, including statements regarding the acquisition of Trilogy, future results of the operations and financial position of 2U, Inc., including
financial targets, business strategy, and plans and objectives for future operations, are forward-looking statements. 2U has based these forward-
looking statements largely on its estimates of its financial results and its current expectations and projections about future events and financial
trends that it believes may affect its financial condition, results of operations, business strategy, short-term and long-term business operations
and objectives, and financial needs as of the date of this press release. We undertake no obligation to update these statements as a result of new
information or future events. These forward-looking statements are subject to a number of risks, uncertainties and assumptions that could cause
actual results to differ materially from the results predicted, including, risks related to the acquisition of Trilogy, including failure to obtain
applicable regulatory approvals in a timely manner or at all, integration risks and failure to achieve the anticipated benefits of the Trilogy
acquisition, trends in the higher education market and the market for online education, and expectations for growth in those markets; the
acceptance, adoptionCaseand growth  of online learning by colleges
                               8:19-cv-03455-TDC                   and universities,
                                                             Document       144-23   faculty,
                                                                                         Filedstudents, employers,
                                                                                                  10/27/20         accreditors
                                                                                                                Page    6 of 9and state and federal
licensing bodies; our ability to comply with evolving regulations and legal obligations related to data privacy, data protection and information
security; our expectations about the potential benefits of our cloud-based software-as-a-service, or SaaS, technology and technology-enabled
services to university clients and students; our dependence on third parties to provide certain technological services or components used in our
platform; our ability to meet the anticipated launch dates of our graduate programs and short courses; our expectations about the
predictability, visibility and recurring nature of our business model; our ability to acquire new university clients and expand our graduate
programs and short courses with existing university clients; our ability to successfully integrate the operations of Get Educated International
Proprietary Limited, or GetSmarter, achieve the expected benefits of the acquisition and manage, expand and grow the combined company; our
ability to execute our growth strategy in the international, undergraduate and non-degree alternative markets; our ability to continue to
acquire prospective students for our graduate programs and short courses; our ability to affect or increase student retention in our graduate
programs; our ability to attract, hire and retain qualified employees; our expectations about the scalability of our cloud-based platform; our
expectations regarding future expenses in relation to future revenue; potential changes in regulations applicable to us or our university clients;
and our expectations regarding the amount of time our cash balances and other available financial resources will be sufficient to fund our
operations. These and other potential risks and uncertainties that could cause actual results to differ from the results predicted are more fully
detailed under the heading “Risk Factors” in our Annual Report on Form 10-K for the year ended December 31, 2018 and other reports filed
with the Securities and Exchange Commission. Moreover, 2U operates in a very competitive and rapidly changing environment. New risks
emerge from time to time. It is not possible for 2U management to predict all risks, nor can 2U assess the impact of all factors on its business or
the extent to which any factor, or combination of factors, may cause actual results to differ materially from those contained in any forward-
looking statements 2U may make. In light of these risks, uncertainties and assumptions, the forward-looking events and circumstances discussed
in this press release may not occur and actual results could differ materially and adversely from those anticipated.

Investor Relations Contact: Ed Goodwin, 2U, Inc., egoodwin@2U.com

Media Contact: Molly Forman, 2U, Inc., mforman@2U.com




                                                                     2U, Inc.
                                                     Condensed Consolidated Balance Sheets
                                               (in thousands, except share and per share amounts)

                                                                                                               March 31,            December 31,
                                                                                                                 2019                   2018
                                                                                                              (unaudited)
Assets
Current assets
  Cash and cash equivalents                                                                               $         423,606     $          449,772
  Investments                                                                                                            —                  25,000
  Accounts receivable, net                                                                                           70,262                 32,636
  Prepaid expenses and other assets                                                                                  28,260                 14,272
    Total current assets                                                                                            522,128                521,680
Property and equipment, net                                                                                          54,098                 52,299
Right-of-use assets                                                                                                  33,070                     —
Goodwill                                                                                                             61,498                 61,852
Amortizable intangible assets, net                                                                                  144,957                136,605
University payments and other assets, non-current                                                                    48,659                 34,918
    Total assets                                                                                          $         864,410     $          807,354
Liabilities and stockholders’ equity
Current liabilities
  Accounts payable and accrued expenses                                                                   $          48,502     $           27,647
  Accrued compensation and related benefits                                                                          16,225                 23,001
  Deferred revenue                                                                                                   24,531                  8,345
  Lease liability                                                                                                     4,871                     —
  Other current liabilities                                                                                           8,104                  9,487
    Total current liabilities                                                                                       102,233                 68,480
Deferred government grant obligations                                                                                 3,500                  3,500
Deferred tax liabilities, net                                                                                         6,086                  6,949
Lease liability, non-current                                                                                         57,359                     —
Other liabilities, non-current                                                                                          637                 23,416
    Total liabilities                                                                                               169,815                102,345
Stockholders’ equity
  Preferred stock, $0.001 par value, 5,000,000 shares authorized, none issued                                               —                  —
  Common stock, $0.001 par value, 200,000,000 shares authorized, 58,189,318 shares issued and
    outstanding as of March 31, 2019; 57,968,493 shares issued and outstanding as of December 31,
    2018                                                                                                                  58                    58
  Additional paid-in capital                                                                                         969,143               957,631
  Accumulated deficit                                                                                               (265,720)             (244,166)
  Accumulated other comprehensive loss                                                                                (8,886)               (8,514)
    Total stockholders’ equity                                                                                       694,595               705,009
Total liabilities and stockholders’ equity
                       Case 8:19-cv-03455-TDC                Document 144-23 Filed 10/27/20$ Page864,410
                                                                                                  7 of 9                  $        807,354




                                                                    2U, Inc.
                                   Condensed Consolidated Statements of Operations and Comprehensive Loss
                                        (unaudited, in thousands, except share and per share amounts)

                                                                                                               Three Months Ended
                                                                                                                    March 31,
                                                                                                            2019                2018
Revenue                                                                                            $           122,234    $            92,288
Costs and expenses
  Curriculum and teaching                                                                                        6,701               4,307
  Servicing and support                                                                                         20,174              15,233
  Technology and content development                                                                            19,794              13,840
  Marketing and sales                                                                                           76,961              53,058
  General and administrative                                                                                    23,023              21,869
     Total costs and expenses                                                                                  146,653             108,307
Loss from operations                                                                                           (24,419)            (16,019)
  Interest income                                                                                                2,349                 342
  Interest expense                                                                                                 (55)                (27)
  Other expense, net                                                                                              (370)               (395)
Loss before income taxes                                                                                       (22,495)            (16,099)
Income tax benefit                                                                                                 941               1,228
Net loss                                                                                           $           (21,554)   $        (14,871)
Net loss per share, basic and diluted                                                              $             (0.37)   $          (0.28)
Weighted-average shares of common stock outstanding, basic and diluted                                      58,138,692          52,687,299
Other comprehensive loss
  Foreign currency translation adjustments, net of tax of $0 for all periods presented                            (372)              4,632
Comprehensive loss                                                                                 $           (21,926)   $        (10,239)




                                                                   2U, Inc.
                                                Condensed Consolidated Statements of Cash Flows
                                                           (unaudited, in thousands)

                                                                                                               Three Months Ended
                                                                                                                    March 31,
                                                                                                            2019                2018
Cash flows from operating activities
Net loss                                                                                           $           (21,554)   $        (14,871)
Adjustments to reconcile net loss to net cash used in operating activities:
  Depreciation and amortization expense                                                                          9,698                  7,375
  Stock-based compensation expense                                                                               9,584                  7,122
  Non-cash lease expense                                                                                         2,634                     —
  Changes in operating assets and liabilities:
     Accounts receivable, net                                                                                  (37,522)            (26,109)
     Payments to university clients                                                                            (10,595)             (3,826)
     Prepaid expenses and other assets                                                                         (10,489)             (4,306)
     Accounts payable and accrued expenses                                                                      17,536               6,010
     Accrued compensation and related benefits                                                                  (6,768)             (5,437)
     Deferred revenue                                                                                           16,215              14,484
     Other liabilities, net                                                                                     (1,640)                331
  Other                                                                                                            373                 395
     Net cash used in operating activities                                                                     (32,528)            (18,832)
Cash flows from investing activities
  Purchases of property and equipment                                                                           (3,164)             (1,856)
  Additions of amortizable intangible assets                                                                   (13,570)            (21,805)
  Purchase of equity interests                                                                                  (2,500)                 —
  Proceeds from maturities of investments                                                                       25,000                  —
  Advances repaid by university clients                                                                            200                  —
     Net cash provided by (used in) investing activities                                                         5,966             (23,661)
Cash flows from financing activities
  Proceeds from exercise of stock options                                                                        1,928                  2,120
  Tax withholding payments associated with settlement of restricted stock units                                     —                  (1,002)
  Payments for acquisition of amortizable intangible assets                                                     (1,283)                    —
Net cash provided byCase
                     financing activities
                             8:19-cv-03455-TDC                                                     6459
                                                             Document 144-23 Filed 10/27/20 Page 8 of                                                1,118
Effect of exchange rate changes on cash                                                                                       (249)                    115
Net decrease in cash and cash equivalents                                                                                  (26,166)                (41,260)
Cash and cash equivalents, beginning of period                                                                             449,772                 223,370
Cash and cash equivalents, end of period                                                                      $            423,606    $            182,110




                                                                       2U, Inc.
                                                       Reconciliation of Non-GAAP Measures
                                                                     (unaudited)

The following table presents a reconciliation of net loss to adjusted net loss for each of the periods indicated:

                                                                                          Three Months Ended
                                                                                               March 31,
                                                                                      2019                   2018
                                                                                      (in thousands, except share
                                                                                        and per share amounts)
Net loss                                                                       $           (21,554)   $             (14,871)
Adjustments:
     Foreign currency loss                                                                     370                      395
     Amortization of acquired intangible assets                                              1,426                    1,680
     Income tax benefit on amortization of acquired intangible assets                         (391)                    (460)
     Transaction costs                                                                       1,931                       —
     Stock-based compensation expense                                                        9,584                    7,122
        Total adjustments                                                                   12,920                    8,737
  Adjusted net loss                                                            $            (8,634)   $              (6,134)
  Net loss per share, basic and diluted (1)                                    $             (0.37)   $               (0.28)
  Adjusted net loss per share, basic and diluted (1)                           $             (0.15)   $               (0.12)
  Weighted-average shares of common stock outstanding, basic and
     diluted                                                                           58,138,692             52,687,299



    (1) The Company computes net income (loss) per share and/or adjusted net income (loss) per share using diluted weighted-average shares of
        common stock outstanding for periods which result in net income and/or adjusted net income, and uses basic weighted-average shares of
        common stock outstanding for periods which result in net loss and/or adjusted net loss.

The following table presents a reconciliation of net loss to adjusted EBITDA (loss) for each of the periods indicated:

                                                                                        Three Months Ended
                                                                                              March 31,
                                                                                      2019                2018
                                                                                           (in thousands)
Net loss                                                                        $          (21,554)   $             (14,871)
Adjustments:
  Interest income                                                                           (2,349)                   (342)
  Interest expense                                                                              55                      27
  Foreign currency loss                                                                        370                     395
  Depreciation and amortization expense                                                      9,698                   7,375
  Income tax benefit                                                                          (941)                 (1,228)
  Transaction costs                                                                          1,931                      —
  Stock-based compensation expense                                                           9,584                   7,122
     Total adjustments                                                                      18,348                  13,349
Adjusted EBITDA (loss)                                                          $           (3,206)   $             (1,522)




                                                                       2U, Inc.
                                                       Reconciliation of Non-GAAP Measures
                                                                     (unaudited)

The following table presents (i) a reconciliation of net loss guidance to adjusted net income (loss) guidance and adjusted EBITDA (loss) guidance
and (ii) a reconciliation of net loss per share guidance to adjusted net income (loss) per share guidance, each at the midpoint of the ranges provided
by the Company, for each of the periods indicated:

                                                                                     Three Months Ending                         Year Ending
                                                                                        June 30, 2019                          December 31, 2019
                                                          $            $/Share
                     Case 8:19-cv-03455-TDC Document 144-23 Filed   10/27/20      Page 9$ of 9
                                                               (in thousands, except per share amounts)
                                                                                                                                                                             $/Share

Net loss                                                                                    $         (35,700)        $             (0.61)        $        (78,075)      $          (1.33)
  Foreign currency loss                                                                                    —                           —                       375                     —
  Amortization of acquired intangible assets                                                            1,600                        0.03                    6,200                   0.11
  Income tax benefit on amortization of acquired intangible assets                                       (425)                      (0.01)                  (1,700)                 (0.03)
  Transaction costs **                                                                                     —                           —                     1,950                   0.03
  Stock-based compensation expense                                                                     13,975                        0.24                   52,200                   0.89
Adjusted net loss                                                                                     (20,550)                      (0.35)                 (19,050)                 (0.33)
  Net interest income                                                                                    (950)                          *                   (4,525)                     *
  Depreciation and amortization expense                                                                 8,925                           *                   36,650                      *
  Income tax (benefit) expense                                                                           (275)                          *                      375                      *
Adjusted EBITDA (loss)                                                                      $         (12,850)        $                 *         $         13,450       $              *
Projected weighted-average shares of common stock outstanding, basic                                                               58,600                                          58,700


*        Not provided.
**       Transaction costs related to Trilogy are not forecasted in the second quarter or for the remainder of the year. The year end expenses
         presented only related to those expenses actually incurred in the first quarter of 2019.




                                                                            2U, Inc.
                                                               Key Financial Performance Metrics
                                                                          (unaudited)

Full Course Equivalent Enrollments

Graduate Program Segment

The following table sets forth the full course equivalent enrollments and average revenue per full course equivalent enrollment in our Graduate
Program Segment for the last eight quarters.

                                           Q2 ‘17            Q3 ‘17            Q4 ‘17               Q1 ‘18            Q2 ‘18                Q3 ‘18             Q4 ‘18            Q1 ‘19
Graduate Program full course
  equivalent enrollments                     23,903            24,062            27,082               29,770                  30,548             32,665             34,695         39,512

Graduate Program average
  revenue per full course
  equivalent enrollment                $        2,719    $        2,740    $        2,758       $        2,706    $            2,658    $         2,747    $         2,792   $      2,637

Alternative Credential Segment

The following table sets forth the full course equivalent enrollments and average revenue per full course equivalent enrollment in our Alternative
Credential Segment for the last seven quarters, since the acquisition of GetSmarter on July 1, 2017.

                                                Q3 ‘17            Q4 ‘17            Q1 ‘18               Q2 ‘18                Q3 ‘18             Q4 ‘18            Q1 ‘19
Alternative Credential full course
  equivalent enrollments                            4,079             6,751             6,002                8,222                8,937               9,041             9,128

Alternative Credential average
  revenue per full course equivalent
  enrollment*                               $       1,232     $       1,777     $       1,954        $       1,972        $       1,930      $        2,015     $       1,979


*        The calculation of alternative credential average revenue per full course equivalent enrollment includes $0.7 million of revenue that was
         excluded from the results of operations in the third quarter of 2017, due to an adjustment recorded as part of the valuation of GetSmarter.
